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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_____________________________________

UNITED STATES OF AMERICA,

                    Plaintiff,

                    v.                                    06-CR-284S

JOSE MADERA,

                Defendant.
_____________________________________



                    REPORT, RECOMMENDATION AND ORDER

             This case was referred to the undersigned by the Hon. William M. Skretny

in accordance with 28 U.S.C. § 636(b)(1) for all pretrial matters and hear and report

upon dispositive motions.



                             PRELIMINARY STATEMENT



             The defendant, Jose Madera (“the defendant”), is charged in a

Superseding Indictment with having violated Title 21 U.S.C. §§ 846 (Count 1), 841(a)(1)

and 841(b)(1)(B) and Title 18 U.S.C. § 2 (Count 6). (Docket #128).



             The defendant has filed a motion seeking to suppress evidence obtained

pursuant to three (3) wire intercept orders and a search warrant authorizing the search

of a “1997 red Mercury Villager van.” (Docket #148).
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              The government has filed a response in opposition to the defendant’s

motion. (Docket #151).



A.     Defendant’s Motion to Suppress Evidence Resulting from Wire Intercept

       Orders.

                                              FACTS1

              Sometime in March or April 2005, the FBI became aware of drug

trafficking activity being carried out by the defendants Enrique Sexto and Jose Lao in

the Western New York area and northern Pennsylvania. (T. 6 - 7). An investigation

was initiated and “physical surveillances, consensually recorded telephone calls,

attempted consensual recorded telephone calls and controlled narcotics purchases”

were conducted by the FBI as part of this investigation. (T. 7). It was determined “that

there were numerous individuals that were actually engaged in the conspiracy to

distribute heroin” and the aforesaid investigative techniques were used to determine

“the full scope of the conspiracy” and to “collect information on the individuals [involved],

who they associated with, vehicles that are being driven, items of movement, that sort of

thing.” (T. 7 - 8). However, the agents conducting the investigation were not able “to

obtain evidence as to conversations that were being made between the people [they]

were watching.” Also, it became apparent to the agents that the individuals being

investigated ”knew they were being watched or suspected they were being watched by

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              An evidentiary hearing was held by this Court on December 6, 2007 in the case of United
              States v. Sexto, a co-defendant herein, and the facts herein are taken from the transcript
              of the testimony given at that hearing and from the exhibits received at said hearing.
              References to this transcript will be designated “T” followed by the appropriate page
              number.

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law enforcement” based on information received from confidential sources. (T. 8-9, 59).

The suspects in this investigation “had numerous people out and about, expanded area,

(sic) two to three blocks out just looking for people out of the ordinary that might be law

enforcement.” (T. 10). An e-mail exchange on the issue of using pole cameras took

place in September 2005 between S.A. Yervelli and a representative in the office of

Chief Division Counsel of the FBI. “The substance of the communication would have

been to determine what legal issues would have needed to be addressed” in order to

obtain authorization from the Chief Division Counsel’s office for the installation of pole

cameras. (T.23-25, 64-65). A formal request seeking approval for “a technical site

survey for pole cameras and a subsequent installation of pole cameras for the purpose

of capturing surveillance intelligence on [the] subjects of [the investigation] as well as

license plate information” was submitted and approval for such installation was given on

or about October 4, 2005. (Government Exhibit 4) (T.26). Nevertheless, the

investigating agents concluded “that the only way for [them] to try to identify additional

individuals and expand the scope of the investigation to include those individuals [they]

didn’t currently have identified was to apply for a federal court authorized wire

communications interception under Title III” since this “would give [them] the ability to

listen to the conversations that the subjects were having regarding their activities and

other associates that [they] didn’t have identified.” (T. 10-11). Also, by having access

to such conversations, the agents would “know when [the suspects] have observed

[them]” and would enable them “to know sometimes what [the suspects] are thinking;

where they’re going, what they’re going to be doing; when they’re going to be doing it.”

(T. 11).

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               S.A. John A. Yervelli, Jr. executed a ninety-five (95) page affidavit which

he swore to on October 25, 2005 before the Hon. William M. Skretny in support of the

Government’s application for an order authorizing the interception of wire

communications. (Government Exhibit 1). This affidavit of S.A. Yervelli describes in

great detail the history of the investigation to date and information obtained based on

prior state wiretap orders, use of confidential informants, physical surveillance, pen

registers and review of various records. However, there is no mention made in the

affidavit as to the use of pole cameras or why such use was not feasible or whether any

sort of evaluation had been made concerning the use of pole cameras notwithstanding

that S.A. Yervelli “thought about using pole cameras as an investigative technique

sometime in September 2005" and had received authorization for the installation of such

cameras prior to submitting his affidavit to Judge Skretny. (T. 22, 61, 76-77,81,85, 92)

(Government Exhibit 4). In explaining why no mention was made of a contemplated use

of pole cameras in his affidavit, S.A. Yervelli testified that he believed that the use of

pole cameras “was just a continuation of physical surveillance” and that they would not

have obtained any additional evidence. (T.23,33, 77). He considered the pole camera

surveillance to be “the same thing” as physical surveillance except that the agents

would not have to be physically present and run the risk of being observed by those

being investigated. Since he considered the pole camera usage to be “an enhancement

of physical surveillance” that “was going to support [their physical] surveillances”, which

he did describe in his affidavit sworn to October 25, 2005 he did not think that it was

necessary to specifically make mention of the possible use of pole cameras. (T.33,

73,79-80, 81-82, 94) (Government Exhibit 1 pp. 82-85).

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              On October 25, 2005 an “Order Authorizing The Interception Of Wire

Communications” was granted by the Honorable William M. Skretny authorizing the

interception of wire communications relating to the investigation of the defendants

herein. (Government Exhibit 1). Sometime after the granting of this Order, site surveys

were conducted for the purpose of installing pole cameras and technical equipment was

obtained. (T.28). However, no attempt was made to file a “supplemental affidavit” with

Judge Skretny as to “necessity” and the use or evaluation on the use of pole cameras.

(T.86).



              Upon application by government counsel, this Court issued an order on

November 1, 2005 and on November 8, 2005 authorizing the installation of telephone

lines pursuant to 28 U.S.C. § 1651 for the purpose of servicing pole cameras so as to

provide for the collection of information relevant to the ongoing investigation of the

defendants herein. (Government Exhibits 5 and 6 respectively) (T.29-31).



              On November 4, 2005 a “First Ten Day Report” was submitted to Judge

Skretny wherein it was reported that:

              FBI personnel are in the process of installing “Pole
              Cameras” in the area of 258 Hudson Street and the garage
              located at 1073 Niagara Street. These cameras are
              necessary to assist with corroboration of information from
              the wire interceptions and because the subjects of the
              Investigation are very surveillance conscience. [sic].

(Government Exhibit 7) (T.34-35, 37, 87, 91-92).




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              Thereafter, on November 23, 2005 an application for an order authorizing

the continued interception of wire communications in the investigation of the defendants

was submitted by the Government to Judge Skretny. (Government Exhibit 2). In the

affidavit of S.A. Yervelli sworn to November 23, 2005 in support of said application,

disclosure is made that one of the “traditional investigative techniques utilized thus far”

is the “use of surveillance cameras in public areas near selected locations associated

with subjects of this investigation.” (Government Exhibit 2, pp. 82, 89) (T. 51-52). An

“Order Authorizing The Continued Interception of Wire Communications” was granted

by Judge Skretny on November 23, 2005. (Government Exhibit 2) (T. 50).



              On December 8, 2005, the Government made an application for a “spinoff

eavesdrop warrant,” i.e., an authorization to intercept wire communications occurring

over another telephone not covered by the prior intercept orders. (Government Exhibit

3) (T. 52). In support of this application, S.A. Yervelli, in his affidavit sworn to December

8, 2005, advised that, among other things, pole cameras were used as “surveillance

cameras in public areas near selected locations associated with subjects of this

investigation” and that those cameras would continue to be used to “assist surveillance

units with conducting surveillance in the future.” (Government Exhibit 3, pp. 90, 96-97)

(T. 55).



              Disclosure of the use of pole cameras was done in the affidavits of S.A.

Yervelli sworn to November 23 and December 8, 2005, “because they were now being

used and they were there.” (T. 56). An “Order Authorizing The Interception of Wire

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Communications” was granted by the Honorable William M. Skretny on December 8,

2005. (Government Exhibit 3).



                              DISCUSSION AND ANALYSIS

              The defendant argues that “the government had no right to intercept

conversations in violation of Title 18 U.S.C. § 1960(a).” (Docket #148, p. 25). Title 18

U.S.C. § 1960(a) has no relevancy whatsoever to the issues at hand and therefore, this

Court is treating that citation as a typographical error or an error due to “cloning” to

which no further discussion is warranted.



              The defendant also argues “that probable cause did not exist to establish

the necessary probable cause” [sic] and that “the eavesdrop applications failed to

establish necessity for the eavesdropping.” (Docket #148, pp. 25, 29). He further

claims that there should have been a termination of the October 25, 2005 intercept

order since “the investigative objectives were attained within a short time after the

issuance of the order and that there was no need for subsequent eavesdropping.”

(Docket #148, p. 35).



              The defendant also claims that “minimization procedures were not

complied with and, as a result, the fruit of the eavesdropping orders must be

suppressed.” (Docket #148, p. 37). Lastly, the defendant asserts that there may have

been a failure to comply with the “sealing” requirement under the statute. (Docket #148,

pp. 37-38).

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              Each of these claims will be separately addressed herein.



              (1)    The Probable Cause Issue.

              As the Second Circuit Court of Appeals has stated, “the standard for

probable cause applicable to [18 U.S.C.] § 2518 is ‘the same as the standard for a

regular search warrant. Under Illinois v. Gates, 462 U.S. 213, 103 S.Ct. 2317, 76

L.Ed.2d 527 (1983), probable cause for a search warrant is established if the totality-of-

the-circumstances’ indicate a probability of criminal activity. See id. at 230-32, 103

S.Ct. 2317.” United States v. Diaz, 176 F.3d 52, 110 (2d Cir.) cert. denied by Rivera v.

United States, 528 U.S. 875 (1999).



              Basically, the defendant is requesting that a review of Judge Skretny’s

decision in issuing the Intercept Orders of October 25, November 23 and December 8,

2005 be made so as to conclude that such orders were improperly issued. The role of

this Court in conducting such a review is no different than that conducted by a court of

appeals and therefore, the admonition of the Second Circuit Court of Appeals is

appropriately applied in this process wherein the Court stated:

              “In reviewing a ruling on a motion to suppress wiretap
              evidence, we accord deference to the district court.” Miller,
              116 F.3d at 663 (quoting Torres, 901 F.2d at 231). Our role
              in reviewing the issuance of a wiretap order is not to make a
              de novo determination of the sufficiency of the applications,
              “but to decide if the facts set forth in the application were
              minimally adequate to support the determination that was
              made.” Id.

United States v. Diaz, 176 F.3d 52, 109 (2d Cir.), cert. denied by Rivera v. United


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States, 528 U.S. 875 (1999).



              Although the defendant sets forth a relatively detailed review of the

contents of the affidavit of S.A. Yervelli sworn to October 25, 2005, he fails to put forth

anything of substance to support his claim that the intercept application for the October

25, 2005 intercept order does not provide probable cause for the issuance of the order.

The defendant merely puts forth a conclusory statement that “it is apparent from the

eavesdropping application that probable cause did not exist to establish the necessary

probable cause.” [sic]. (Docket #148, p. 25). He offers nothing further on the issue of

probable cause as to the intercept orders of November 23 and December 8, 2005.



              As the Court of Appeals for the Second Circuit stated:

              A plaintiff who argues that a warrant was issued on less than
              probable cause faces a heavy burden.              “Where [the]
              circumstances are detailed, where reason for crediting the
              source of the information is given, and when a magistrate has
              found probable cause, the courts should not invalidate the
              warrant by interpreting the affidavit in a hypertechnical, rather
              than a commonsense, manner. . . . [T]he resolution of doubtful
              or marginal cases in this area should be largely determined by
              the preference to be accorded to warrants.” United States v.
              Ventresca, 380 U.S. 102, 109, 85 S.Ct. 741, 746, 13 L.Ed.2d
              684 (1965). In particular, where the officer requesting the
              search warrant relies on an informant, the magistrate’s role is
              to examine the totality of the circumstances and to
                     make a practical, commonsense decision
                     whether, given all the circumstances set forth in
                     the affidavit before him, including the “veracity”
                     and “basis of knowledge” of persons supplying
                     hearsay information, there is a fair probability
                     that contraband or evidence of a crime will be
                     found in a particular place. And the duty of a
                     reviewing court is simply to ensure that the

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                       magistrate had a “substantial basis for . . .
                       conclud[ing]” that probable cause existed.
              Illinois v. Gates, 462 U.S. 213, 238-39, 103 S.Ct. 2317, 2332,
              76 L.Ed.2d 527 (1983) (quoting Jones v. United States, 362
              U.S. 257, 271, 80 S.Ct. 725, 736, 4 L.Ed.2d 697 (1960)); see
              United States v. Feliz-Cordero, 859 F.2d 250, 252-53 (2d Cir.
              1988).

Rivera v. United States, 928 F.2d 592, 602 (2d Cir. 1991).



              The defendant has failed to meet his burden in this regard. The ninety-

five (95) typewritten page affidavit of S.A. Yervelli sworn to October 25, 2005 sets forth

in great detail, the circumstances of the investigation as well as the information obtained

to date from confidential sources, authorized state intercept orders and physical

surveillance. As a result, it is hereby RECOMMENDED that defendant’s motion to

suppress the evidence obtained by use of the intercept orders of October 25, November

23 and December 8, 2005 be DENIED.



       (2)    The Necessity Issue.

              The defendant argues that “it is more than clear that the government /

agent utilized eavesdropping as an investigative tool without attempting to consummate

their [sic] investigation by using other techniques” and that “the conclusory statements

and the necessity aspect of the applications were insufficient to allow the agents to

utilize eavesdropping in this instance” (Docket #148, p. 31) and therefore, the evidence

obtained by use of such intercept orders should be suppressed. (Docket #148, p. 33).



              The eavesdropping application and supporting affidavit of S.A. Yervelli of

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October 25, 2005 did contain a detailed factual explanation of the traditional

investigative techniques that were used, including “the use of confidential sources,

controlled evidence purchases of illegal drugs, the attempted introduction of an

undercover officer, search warrants, pen registers, review of telephone toll records,

interviews and physical surveillance.” (Emphasis added) (Government Exhibit 1, p.

77). A detailed description was also given of those investigative techniques

“considered, but not deemed likely to succeed” and the reasons for such belief.

(Government Exhibit 1, pp. 77-92).



              There is no requirement that all traditional law enforcement investigative

techniques be exhausted prior to applying for a wire interception order. United States v.

Diaz, 176 F.3d 52, 111 (2d Cir.) cert. denied by Rivera v. United States, 528 U.S. 875

(1999). Nor is there any requirement “that any particular investigative procedures

[must] be exhausted before a wiretap may be authorized.” United States v. Miller, 116

F.3d 641, 663 (2d Cir. 1997), cert. denied, 524 U.S. 905 (1998); United States v. Young,

882 F.2d 1234, 1237 (2d Cir. 1987).



              Since the holding in United States v. Torres, 901 F.2d 205 (2d Cir.), cert.

denied 498 U.S. 906 (1990), addresses the issues raised by the defendant herein on

the issue of whether 18 U.S.C. § 2518(1)(c) was complied with, it is worthwhile to

sacrifice brevity and set forth that Court’s ruling in detail.

              Section 2518(1)(c) requires that an application for such an
              interception shall include “a full and complete statement as
              to whether or not other investigative procedures have been

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       tried and failed or why they reasonably appear to be unlikely
       to succeed if tried or to be too dangerous. . . .” Similarly,
       section 2518(3)(c) requires the judge to whom an application
       for a wiretap is made to determine, as a condition of
       authorizing the tap, that “normal investigative procedures
       have been tried and have failed or reasonably appear to be
       unlikely to succeed if tried or to be too dangerous. . . .”

       The application for the wiretap in this case was based upon
       a thirty-six page affidavit by DEA agent Timothy J. Sullivan
       dated May 27, 1987. Flores contends that when the
       application for a wiretap was made, traditional law
       enforcement methods had already achieved “extraordinary
       success . . . in penetrating the deepest reaches of the Torres
       Organization,” and that the “affidavit utterly failed to
       establish, even on a superficial level, that less intrusive
       techniques had not been successful and could not be
       successful.” In advancing this position, Flores points out that
       our decision in United States v. Lilla, 699 F.2d 99 (2d Cir.
       1983), precludes the authorization of wiretaps based upon
       “generalized and conclusory statements that other
       investigative procedures would prove unsuccessful,” id. at
       104. Flores also argues that it does not suffice to show that
       a case belongs to some general class of cases which require
       wiretap investigation, citing United States v. Kalustian, 529
       F.2d 585, 589 (9th Cir. 1975) (gambling case).

       We are unpersuaded, and conclude that the application in
       this case provided a sufficient basis for authorizing the
       Flores wiretap. Section 2518 “is simply designed to assure
       that wiretapping is not resorted to in situations where
       traditional investigative techniques would suffice to expose
       the crime.” United States v. Kahn, 415 U.S. 143, 153 n. 12,
       94 S.Ct. 977, 983 n. 12, 39 L.Ed.2d 225 (1974). As we have
       stated:

              “[T]he purpose of the statutory requirements is
              not to preclude resort to electronic surveillance
              until after all other possible means of
              investigation have been exhausted by
              investigative agents; rather, they only require
              that the agents inform the authorizing judicial
              officer of the nature and progress of the
              investigation and of the difficulties inherent in
              the use of normal law enforcement methods.”

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       United States v. Vazquez, 605 F.2d 1269, 1282 (2d Cir.
       1979) (quoting United States v. Hinton, 543 F.2d 1002, 1011
       (2d Cir.), cert. denied, 429 U.S. 980, 97 S.Ct. 493, 50
       L.Ed.2d 589 (1976)), cert. denied, 444 U.S. 981, 100 S.Ct.
       484, 62 L.Ed.2d 408 (1979), 1019, 100 S.Ct. 674, 62
       L.Ed.2d 649 (1980); see also United States v. Fury, 554 F.2d
       522, 530 (2d Cir), cert. denied, 433 U.S. 910, 97 S.Ct. 2978,
       53 L.Ed.2d 1095 (1977).

       The role of an appeals court in reviewing the issuance of a
       wiretap order, furthermore, “is not to make a de novo
       determination of sufficiency as if it were a district judge, but
       to decide if the facts set forth in the application were
       minimally adequate to support the determination that was
       made.” United States v. Scibelli, 549 F.2d 222, 226 (1st Cir.)
       (collecting cases), cert. denied, 431 U.S. 960, 97 S.Ct. 2687,
       53 L.Ed.2d 278 (1977). And, as the Scibelli court went on to
       say:

              [I]n determining the sufficiency of the
              application a reviewing court must test it in a
              practical and common sense manner. The
              legislative history makes clear that section
              2518(1)(c) is not designed to force the
              Government to have exhausted all “other
              investigative procedures”.

                     “The judgment [of the district
                     judge] would involve a
                     consideration of all the facts and
                     circumstances. Normal
                     investigative procedure would
                     include, for example, standard
                     visual or aural surveillance
                     techniques by law enforcement
                     officers, general questioning or
                     interrogation under an immunity
                     grant, use of regular search
                     warrants, and the infiltration of
                     conspiratorial groups by
                     undercover agents or informants.
                     Merely because a normal
                     investigative technique is
                     theoretically possible, it does not
                     follow that it is likely. What the

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                            provision envisions is that the
                            showing be tested in a practical
                            and commonsense fashion.

                     S.Rep. No. 1097, 90th Cong., 2d Sess., 1968
                     U.S.Code Cong. & Admin.News, p. 2190
                     (citations omitted).

              Scibelli, 549 F.2d at 226.

Id. at 231-232) (brackets included); See also United States v. Diaz, 176 F.3d 52, 111
(2d Cir.), cert. denied by Rivera v. United States, 528 U.S. 875 (1999).



              Giving proper deference to Judge Skretny’s review and acceptance of the

ninety-five (95) page affidavit of Special Agent Yervelli sworn to October 25, 2005 in

support of the application for the Intercept Orders and his decision to grant said

applications and issue the orders in question, it is concluded that Judge Skretny

“properly found that conventional investigative techniques had been exhausted and that

alternatives to wire interception would be unlikely to succeed or would be too

dangerous.” Id. at 111. Therefore, it is RECOMMENDED that defendant’s motion to

suppress based on this claim be DENIED.



       (3)    Defendant’s Claim of Failure to Terminate the Interceptions.

              The defendant asserts that “the objectives necessary [sic] were obtained

prior to the first eavesdrop warrant in October 2005" and that “nevertheless, within a

short time after the issuance of the October 25, 2005 eavesdrop warrant order, the

investigative objectives were attained and there was no need for subsequent

eavesdropping.” (Docket #148, p. 35). As a result, the defendant states that “the


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defense is entitled to have all of the subsequent eavesdrop orders controverted which

were derived from the illegal electronic surveillance.” (Docket #148, p. 36).



             18 U.S.C. § 2518(5) provides in pertinent part:

      Every order and extension therefore shall contain a provision that the
      authorization to intercept . . . must terminate upon attainment of the
      authorized objection . . ..


             In his affidavit sworn to October 25, 2005, S.A. Yervelli states “that only

through the interception of wire communications to and from the target telephones can

the full scope of this conspiracy be discovered and evidence for successful prosecution

of the subjects involved be obtained.” (Government Exhibit 1, p. 91).



             In his affidavit sworn to November 23, 2005, S.A. Yervelli states:

             However, the full scope of all the members of this drug
             organization has not yet been fully identified, nor in
             particular, have the suppliers of the drugs, the method of
             drug supply, the means of financing the purchase of drugs,
             or the locations where drugs and proceeds were stored and
             method of disposing of drug proceeds. Continued
             interception of the wire communications of these individuals
             appears to be the only means to determine this information.

             Government Exhibit 2, pp. 81-82.


             A similar sworn statement of S.A. Yervelli is contained in his affidavit

sworn to December 8, 2005 in support of the application for the intercept order of

December 8, 2005. See Government Exhibit 3, pp. 89-90.




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              Since the identities of others involved in the conspiracy and illegal drug

operations had not been established, the “objective of the surveillance had not been

attained” as of October 25, 2005 and therefore, there was an established need for the

Order of October 25, 2005. Because the objectives of the investigation had not been

obtained during the authorized period established in the October 25, 2005 Order, the

affidavits of S.A. Yervelli sworn to November 23 and December 8 further established the

necessity for extending the authorization to electronically intercept communications over

the target telephones thereby warranting the issuance of the Orders of November 23

and December 8, 2005. See United States v. Wong, 40 F.3d 1347, 1376 (2d Cir. 1994);

cert. denied 514 U.S. 1113 (1995); United States v. Earls, 42 F.3d 1321, 1325 (10th Cir.

1994); United States v. Brown, 941 F.2d 656, 659 (8th Cir. 1991).



              Giving proper deference to Judge Skretny’s review and acceptance of the

ninety-five (95) page affidavit of S.A. Yervelli sworn to October 25, 2005 in support of

the application for the Intercept Order of October 25, 2005, as well as Judge Skretny’s

review and acceptance of the application of November 23, 2005 to extend said

interceptions, and his review and acceptance of the application of December 8, 2005 to

further extend the authorization to intercept, it is concluded that Judge Skretny “properly

found that conventional investigative techniques had been exhausted and that

alternatives to wire interception would be unlikely to succeed or would be too

dangerous” and that the objectives of the investigation had not been attained thereby

necessitating the Orders of October 25, November 23 and December 8, 2005.



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              Therefore, it is RECOMMENDED that defendant’s motion to suppress the

electronic evidence on the basis of “non-necessity” and/or “attainment of objective” be

DENIED.



       (4)    The “Minimization” Issue.

              18 U.S.C. § 2518(5) provides that the “authorization to intercept . . . shall

be conducted in such a way as to minimize the interception of communications not

otherwise subject to interception under this chapter . . ..”



              Defendant’s counsel merely speculates that the “minimization”

requirements of the statute may not have been complied with. However, he admits that

he “has not been able to listen to the tapes.” (Docket #148, p. 37). As a result, his

argument is rejected at this point in time. Nevertheless, for purposes of judicial

economy, the holding of the United States Supreme Court on this issue is beneficial and

is therefore, set forth herein.



              In addressing this complex concept of “minimization,” the United States

Supreme Court has held that:

              The statute does not forbid the interception of all nonrelevant
              conversations, but rather instructs the agents to conduct the
              surveillance in such a manner as to “minimize” the
              interception of such conversations. Whether the agents
              have in fact conducted the wiretap in such a manner will
              depend on the facts and circumstances of each case.

              We agree with the Court of Appeals that blind reliance on the
              percentage of nonpertinent calls intercepted is not a sure

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             guide to the correct answer. Such percentages may provide
             assistance, but there are surely cases, such as the one at
             bar, where the percentage of nonpertinent calls is relatively
             high and yet their interception was still reasonable. The
             reasons for this may be many. Many of the nonpertinent
             calls may have been very short. Others may have been
             one-time only calls. Still other calls may have been
             ambiguous in nature or apparently involved guarded or
             coded language. In all these circumstances agents can
             hardly be expected to know that the calls are not pertinent
             prior to their termination.

             In determining whether the agents properly minimized, it is
             also important to consider the circumstances of the wiretap.
             For example, when the investigation is focusing on what is
             thought to be a widespread conspiracy more extensive
             surveillance may be justified in an attempt to determine the
             precise scope of the enterprise. And it is possible that many
             more of the conversations will be permissibly interceptable
             because they will involve one or more of the co-conspirators.
             ...

             Other factors may also play a significant part in a particular
             case. For example, it may be important to determine at
             exactly what point during the authorized period the
             interception was made. During the early stages of
             surveillance the agents may be forced to intercept all calls to
             establish categories of nonpertinent calls which will not be
             intercepted thereafter. Interception of those same types of
             calls might be unreasonable later on, however, once the
             nonpertinent categories have been established and it is clear
             that this particular conversation is of that type. Other
             situations may arise where patterns of nonpertinent calls do
             not appear. In these circumstances it may not be
             unreasonable to intercept almost every short conversation
             because the determination of relevancy cannot be made
             before the call is completed.

Scott v. United States, 436 U.S. 128, 140-141 (1978); see also United States v.
Principe, 531 F.2d 1132, 1140 (2d Cir.), cert. denied 430 U.S. 905 (1976).

             It is therefore RECOMMENDED that defendant’s motion to suppress the

evidence on this issue be DENIED.


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      (5)    The “Sealing” Issue.

             The defendant requests that “a hearing to determine the reasons and

lengths of various delays [sic] and whether, under the circumstances, the tapes must be

suppressed.” (Docket #148, p. 38).



                    18 U.S.C. § 2518(8)(a) provides as follows:



             Immediately upon the expiration of the period of the order, or

             extensions thereof, such recordings shall be made available

             to the judge issuing such order and sealed under his

             directions.



      The term “immediately” has been given a liberal interpretation by the Court of

Appeals for the Second Circuit for purposes of determining issues related to claims of

untimely sealing of tapes as evidenced by the following:



             This Court has held that a sealing “within one or two days”
             will normally be deemed immediate within the meaning of
             § 2518(8)(a), United States v. Maldonado-Rivera, 922 F.2d
             934, 949 (2d Cir. 1990) (quoting United States v. Vasquez,
             605 F.2d 1269, 1278 (2d Cir. 1979); cert. denied, 444 U.S.
             981, 100 S.Ct. 484, 62 L.Ed.2d 408 (1979), 444 U.S. 1019,
             100 S.Ct. 2811, 115 L.Ed.2d 984, 501 U.S. 1233, 111 S.Ct.
             2858, 115 L.Ed.2d 1025 (1991) and that longer delays
             require suppression “unless the government furnishes an
             explanation for the delay that is ‘satisfactory’ within the
             meaning of the statute.” Id., see supra note 5. Where the
             delay is between two and five days, we have indicated that
             the government should submit with the tapes an in camera

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             explanation for the delay, see United States v. Massino, 784
             F.2d 153, 158 (2d Cir. 1986), although an explanation
             submitted at the time of a defendant’s motion to suppress
             will be considered. See United States v. Pitera, 5 F.3d 624,
             627 (2d Cir. 1993), cert. denied, ___ U.S. ___, 114 S.Ct.
             1103, 127 L.Ed.2d 415 (1994).

             We have recognized that weekends and holidays present
             legitimate obstacles to the sealing of tapes. See, e.g.,
             United States v. Gallo, 863 F.2d 185, 193 (2d Cir. 1988),
             cert. denied, 489 U.S. 1083, 109 S.Ct. 1539, 103 L.Ed.2d
             843 (1989); United States v. McGrath, 622 F.2d 36, 42-43
             (2d Cir. 1980).

United States v. Wong, 40 F.3d 1347, 1375 (2d Cir. 1994).


             The Second Circuit Court of Appeals has also held that failure to

“immediately” seal does not automatically cause suppression of the evidence. As the

Court expressly stated in United States v. Gallo, 863 F.2d 185, 193 (2d Cir. 1988), cert.

denied, 484 U.S. 1083 (1989):



             It is well settled in this circuit that suppression is not
             automatically warranted when sealing is not immediate;
             rather, suppression is required when the government cannot
             satisfactorily explain the delay. (Citations omitted). The
             government’s explanation must be weighed against such
             factors as the length of the delay, the absence of good faith,
             the time needed for administrative processing, and the
             prejudice to the defendant. See Massino, 784 F.2d at 157.
             We find that the government has satisfactorily explained the
             five-day sealing delay that occurred here. The authorizing
             order expired on March 6, 1982 - a Saturday - rendering any
             action by the government on the next day impossible. The
             government then required 3 days - March 8, 9 and 10 - for
             administrative processing, and the tapes were sealed on
             March 11, 1982. The record contains no evidence of bad
             faith on the part of the government, or of prejudice incurred
             on the part of the appellants. We therefore find no error in
             the district court’s denial of the defendant’s motion to

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              suppress the fruits of the Ruggerio surveillance.

See also U.S. v. Pitera, 5 F.3d 624, 627 (2d Cir. 1993), cert. denied 570 U.S. 1134

(1994).



              Since the defendant has failed to offer anything of substance that would

minimally establish a basis for the need to have a hearing on the issue of minimization,

it is RECOMMENDED that his motion on this issue be DENIED.



B.     Defendant’s Motion to Suppress Evidence Seized Pursuant to the Search

       Warrant of December 14, 2005.

                                          FACTS

              On December 14, 2005, Judge Scott issued a search warrant authorizing

the search of “One 1997 Red Mercury Villager Van, Bearing VIN # 4M2DV1111VDJ43887

based on the affidavit of S.A. Gary N. Violanti of the F.B.I. sworn to December 14, 2005.

In that affidavit, S.A. Violanti describes in some detail, the investigation that was being

conducted into the alleged drug activities of Enrique Sexto, Luis Pabon and Jose Lao

whom he describes as “known narcotics transporters/traffickers in the Buffalo, New York

area within the Western District of New York.” He further asserts that “Pabon, Sexto, Lao

and others are known to utilize vehicles belonging to themselves and others associated

with them to transport and facilitate the transportation of multi-ounce quantities of

controlled substances, including heroin and cocaine, in areas including Buffalo, New

York” which is thereafter “distributed in the Western District of New York through a variety

of mid-level dealers within Pabon and Sexto’s narcotic trafficking organization.” Based on

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“court authorized intercepts” and “circumstances contained in [his] affidavit,” S.A. Violanti

advises that “Jose Madera and another unidentified male, traveling in the [1997 red

Mercury Village suburban bearing . . . New York State registration #BVA3125 . . .

registered to an Amarilis A. Calderon, D.O.B. 10/1/64, at 3671 Broadway, A27, New York,

New York] are responsible for delivering an unspecified amount of heroin to Sexto and

Pabon and are, as a result, are [sic] currently in possession of illegal proceeds and/or

controlled substances.” The investigation established that Jose Madera “was a registered

guest on December 6, 2005 at the Holiday Inn located at 1881 Niagara Falls Blvd.,

Amherst, New York” and S.A. Violanti opined that “Jose Madera was responsible for

delivering a shipment of illegal drugs to Sexto and Pabon.” S.A. Violanti further asserts

that the residence of Sexto at 452 Fargo Avenue, Buffalo, New York, has been

established to be “utilized by both Pabon and Sexto to facilitate their illegal drug trafficking

activities.” The red Mercury Villager Van was “observed on the street next to [this]

residence,” and while under continued surveillance, was observed going to the Holiday

Inn where Jose Madera was a guest. As a result, it was the belief of S.A. Violanti that

probable cause existed that contraband and other evidence relating to drug trafficking

would be found in the vehicle in question. The search warrant for the vehicle was issued

and on December 14, 2005, the vehicle was stopped on the New York State Thruway in

the vicinity of Batavia, New York and a search conducted pursuant to the warrant. The

driver of the vehicle was Jose Madera.



                               DISCUSSION AND ANALYSIS

              The defendant claims that the statements set forth in the affidavit of S.A.

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Violanti sworn to December 14, 2005 “provided absolutely no probable cause to believe

that the vehicle was in anyway connected with any criminal activity on December 13,

2005.” (Docket #148, p. 41) and therefore, “all of the items seized as a result of the

execution of the search warrant” should be suppressed. (Docket #148, p. 42).



             Great deference should be given to Judge Scott’s decision to issue the

search warrant in question. Illinois v. Gates, 462 U.S. 213, 236 (1983); Ornealas v.

United States, 517 U.S. 690, 696 (1996).



             In determining whether probable cause exists for the issuance of a warrant,

the United States Supreme Court has stated:



             The totality of the circumstances approach is far more
             consistent with our prior treatment of probable cause than is
             any rigid demand that specific “tests” be satisfied by every
             informant’s tip. Perhaps the central teaching of our decisions
             bearing on the probable-cause standard is that it is a
             “practical, nontechnical conception.” (citation omitted). “In
             dealing with probable cause, . . . as the very name implies, we
             deal with probabilities. These are not technical; they are the
             factual and practical considerations of everyday life on which
             reasonable and prudent men, not legal technicians, act.”
             (citation omitted.)


             In Aguilar, we required only that “the magistrate must be
             informed of some of the underlying circumstances from which
             the informant concluded that . . . narcotics were where he
             claimed they were, and some of the underlying circumstances
             from which the officer concluded that the informant . . . was
             “credible” or his information “reliable.” (citation omitted).

             As our language indicates, we intended neither a rigid

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             compartmentalization of the inquiries into an informant’s
             “veracity,” “reliability,” and “basis of knowledge,” nor that these
             inquiries be elaborate exegeses of an informant’s tip. Rather,
             we required only that some facts bearing on two particular
             issues be provided to the magistrate.

                                          * * *

             The task of the issuing magistrate is simply to make a
             practical, common-sense decision whether, given all the
             circumstances set forth in the affidavit before him, including
             the “veracity” and “basis of knowledge” of persons supplying
             hearsay information, there is a fair probability that contraband
             or evidence of a crime will be found in a particular place. And
             the duty of a reviewing court is simply to ensure that the
             magistrate had a “substantial basis . . . for [conclud[ing] “that
             probable cause existed. (citation omitted). We are convinced
             that this flexible, easily applied standard will better achieve the
             accommodation of public and private interests that the Fourth
             Amendment requires than does the approach that has
             developed from Aguilar and Spinelli.

Illinois v. Gates, 462 U.S. 213, 231, 238-239 (1983).



             It is also pointed out that the training and experience of an agent can be

considered in determining whether probable cause exists. United States v. Fama, 758

F.2d 834, 838 (2d Cir. 1985); cert. denied, 486 U.S. 1043 (1987).



             As the Court of Appeals for the Second Circuit stated:

             A plaintiff who argues that a warrant was issued on less than
             probable cause faces a heavy burden.               “Where [the]
             circumstances are detailed, where reason for crediting the
             source of the information is given, and when a magistrate has
             found probable cause, the courts should not invalidate the
             warrant by interpreting the affidavit in a hypertechnical, rather
             than a commonsense, manner. . . . [T]he resolution of doubtful
             or marginal cases in this area should be largely determined by
             the preference to be accorded to warrants.” United States v.

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              Ventresca, 380 U.S. 102, 109, 85 S.Ct. 741, 746, 13 L.Ed.2d 684
              (1965). In particular, where the officer requesting the search
              warrant relies on an informant, the magistrate’s role is to
              examine the totality of the circumstances and to
                       make a practical, commonsense decision whether,
                       given all the circumstances set forth in the affidavit
                       before him, including the “veracity” and “basis of
                       knowledge” of persons supplying hearsay
                       information, there is a fair probability that
                       contraband or evidence of a crime will be found in
                       a particular place. And the duty of a reviewing
                       court is simply to ensure that the magistrate had a
                       “substantial basis for . . . conclud[ing]” that
                       probable cause existed.
              Illinois v. Gates, 462 U.S. 213, 238-39, 103 S.Ct. 2317, 2332, 76
              L.Ed.2d 527 (1983) (quoting Jones v. United States, 362 U.S.
              257, 271, 80 S.Ct. 725, 736, 4 L.Ed.2d 697 (1960)); see United
              States v. Feliz-Cordero, 859 F.2d 250, 252-53 (2d Cir. 1988).

Rivera v. United States, 928 F.2d 592, 602 (2d Cir. 1991).



              I find that the defendant has failed in his burden to invalidate the search

warrant issued by Magistrate Judge Scott on December 14, 2005 and that his argument

that probable cause was lacking for issuance of that warrant is without legal merit.

Therefore, it is recommended that his motion to suppress the evidence seized pursuant to

that warrant on this basis be DENIED.



              Contrary to the defendant’s assertion, the search warrant, as well as the

affidavit of S.A. Violanti in support of the application for the warrant, sets forth a detailed

description of the motor vehicle, including the motor vehicle identification number, as well

as the New York State registration identification, that is to be searched. Further, the

search warrant of December 14, 2005 expressly references the affidavit of S.A. Violanti


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sworn to December 14, 2005 and expressly incorporates that affidavit by reference. This

affidavit of S.A. Violanti describes with specificity the items to be seized under the search

warrant and the search warrant has a detailed schedule of items to be seized attached to

it, which schedule of items is also expressly referenced in the main body of the search

warrant. Even if it were determined that the search warrant failed to particularly describe

the items to be seized, such failure would not render the warrant incurably defective.

United States v. Bianco, 998 F.2d 1112, 1116 (2d Cir. 1993).



              Lastly, the defendant has failed to come forward with anything that would

nullify the application of the “good faith” doctrine established under United States v. Leon,

468 U.S. 897, 920 (1984) in this case.



              [S]uppression of evidence obtained pursuant to a warrant
              should be ordered only on a case-by-case basis and only in
              those unusual cases in which exclusion will further the
              purposes of the exclusionary rule.

                                      *   *   *

              It is the magistrate’s responsibility to determine whether the
              officer’s allegations establish probable cause and, if so, to
              issue a warrant comporting in form with the requirements of
              the Fourth Amendment. In the ordinary case, an officer
              cannot be expected to question the magistrate’s probable-
              cause determination or his judgment that the form of the
              warrant is technically sufficient. “[O]nce the warrant issues,
              there is literally nothing more the policeman can do in seeking
              to comply with the law.” (citation omitted). Penalizing the
              officer for the magistrate’s error, rather than his own, cannot
              logically contribute to the deterrence of Fourth Amendment
              violations.

Id. at 918, 921.

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              As a result, suppression of evidence as sought by the defendant is not

warranted and it is therefore RECOMMENDED that defendant’s motion be DENIED.



                                        CONCLUSION

              Based on the foregoing, it is RECOMMENDED that defendants’ motion

(Docket #148), to suppress be DENIED.



              Therefore, it is hereby ORDERED pursuant to 28 U.S.C. § 636(b)(1) that:




              This Report, Recommendation and Order be filed with the Clerk of the

Court.




              ANY OBJECTIONS to this Report, Recommendation and Order must be

filed with the Clerk of this Court within ten (10) days after receipt of a copy of this Report,

Recommendation and Order in accordance with the above statute, Fed. R.

Crim. P. 58(g)(2) and Local Rule 58.2.



              The district judge will ordinarily refuse to consider de novo, arguments, case

law and/or evidentiary material which could have been, but were not presented to the

magistrate judge in the first instance. See, e.g., Patterson-Leitch Co., Inc. v.

Massachusetts Municipal Wholesale Electric Co., 840 F.2d 985 (1st Cir. 1988). Failure to

file objections within the specified time or to request an extension of such time


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 waives the right to appeal the District Judge's Order. Thomas v. Arn, 474 U.S. 140

 (1985); Wesolek, et al. v. Canadair Ltd., et al., 838 F.2d 55 (2d Cir. 1988).



              The parties are reminded that, pursuant to Rule 58.2 of the Local Rules for

the Western District of New York, "written objections shall specifically identify the portions

of the proposed findings and recommendations to which objection is made and the basis

for such objection and shall be supported by legal authority." Failure to comply with the

provisions of Rule 58.2, or with the similar provisions of Rule 58.2

(concerning objections to a Magistrate Judge's Report, Recommendation and

Order), may result in the District Judge's refusal to consider the objection.


                                           /s/ H. Kenneth Schroeder, Jr.
                                           __________________________
                                           H. KENNETH SCHROEDER, JR.
                                           United States Magistrate Judge


 DATED:         Buffalo, New York
                May19, 2008




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